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                    UNITED STATES DISTRICT COURT FOR THE
                         DISTRICT OF NEW HAMPSHIRE



United States of America

            v.                                 Case No. 07-cr-80-01/02-SM

Michael Monahan
Jeffrey Mealey



                                      ORDER



      Defendant Mealey's assented-to motion to continue the trial (document no. 31)

is granted. Trial has been rescheduled for the June 2008 trial period. Defendants shall

file a Waiver of Speedy Trial Rights not later than February 15, 2008. On the filing of

such waivers, the continuance shall be effective.

      The court finds that the ends of justice served by granting a continuance outweigh

the best interest of the public and the defendants in a speedy trial, 18 U.S.C. §

3161(h)(8)(B)(iv), in that failure to grant a continuance would unreasonably deny the

defendants the reasonable time necessary for effective preparation taking into account
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the exercise of due diligence under the circumstances.           NO FURTHER

CONTINUANCES ABSENT EXTRAORDINARY CIRCUMSTANCES.

      Final Pretrial Conference: May 22, 2008 at 11:30 AM

      Jury Selection:          June 3, 2008 at 9:30 AM

      SO ORDERED.



February 8, 2008                     _________________________
                                     Steven J. McAuliffe
                                     Chief Judge

cc: Robert Kinsella, Esq.
    Mark Sisti, Esq.
    William Christie, Esq.
    U. S. Probation
    U. S. Marshal




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